                            Case 1:06-cr-00059-AWI Document 679 Filed 10/22/13 Page 1 of 1


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 5                                          UNITED STATES DISTRICT COURT
 6                                        EASTERN DISTRICT OF CALIFORNIA
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 8            UNITED STATES OF AMERICA,                       CASE NO. 1:06-CR-00059-AWI
 9                                    Plaintiff               ORDER DIRECTING DEFENDANT
                                                              TO SELF-SURRENDER BY MONDAY,
10                              v.                            JANUARY 6, 2014
11            FRANCHESKA BRIZAN,
12                                    Defendant.
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16                         The defendant’s appeals having terminated, defendant FRANCHESKA BRIZAN is
17   ordered to surrender for service of her sentence to the institution designated by the Bureau of
18   Prisons, or to the United States Marshal in Fresno, California, no later than 2:00 p.m. on Monday,
19   January 6, 2014. No extensions of time shall be given. Counsel for the defendant shall notify his
20   client of the above date.
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     IT IS SO ORDERED.
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24   Dated: October 22, 2013
     DEAC_Signature-END:
                                                       SENIOR DISTRICT JUDGE
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     0m8i788
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